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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                               02/27/2019 01:30 PM
                                                               COURTROOM 300 North Hogan Street
HONORABLE JERRY FUNK
CASE NUMBER:                                                   FILING DATE:
3:18-bk-03980-JAF                       7                         11/13/2018
Chapter 7
DEBTOR:                Sean Stenson
                       Linda Stenson
DEBTOR ATTY:           Katheryn Hancock
TRUSTEE:               Gregory Crews
HEARING:
1. Motion for Turnover of Property - specifically: Pro-rated portion of the Debtors 2018 Federal Income Tax Refund;Non-exempt
                        household goods and furnishings as listed on Line 6 of the Debtors Schedule A/B; Non-exempt portion of
                        the jewelry, including but not limited to the mens gold rolex, ladies sapphire ring, engagement ring and
                        wedding band as listed on Line 12 of the Debtors Schedule A/B; Non-exempt funds in Debtors Checking
                        Account with Wells Fargo, N.A. as listed on Line 17.1 of the Debtors Schedule A/B; Non-exempt funds in
                        Debtors Community First Credit Union account as listed on Line 17.2 of the Debtors Schedule A/B;
                        Non-exempt funds in Debtors Checking Account with Bank of America as listed on Line 17.3 of the Debtors
                        Schedule A/B; 2014 Honda Pilot, VIN: 5FNYF3H41EB020275, together with all keys; Non-exempt portion,
                        if any, of the Childrens 529 Accounts as listed on Line 24 of the Debtors Schedule A/B and Non-exempt
                        portion, if any, of the Whole Life Insurance policy through State Farm as listed on Line 31 of the Debtors
                        Schedule A/B. Filed by Eugene H Johnson on behalf of Trustee Gregory K. Crews Doc. 27
2. Objection to Debtor's Claim of Exemptions . Filed by Eugene H Johnson on behalf of Trustee Gregory K. Crews Doc. 20{}

APPEARANCES::

WITNESSES:

EVIDENCE:

RULING: 1 & 2. RESCHEDULED TO MARCH 17 @ 1:30 CLERK TO PREPARE
1. Motion for Turnover of Property - specifically: Pro-rated portion of the Debtors 2018 Federal Income Tax Refund;Non-exempt
household goods and furnishings as listed on Line 6 of the Debtors Schedule A/B; Non-exempt portion of the jewelry, including but
not limited to the mens gold rolex, ladies sapphire ring, engagement ring and wedding band as listed on Line 12 of the Debtors
Schedule A/B; Non-exempt funds in Debtors Checking Account with Wells Fargo, N.A. as listed on Line 17.1 of the Debtors
Schedule A/B; Non-exempt funds in Debtors Community First Credit Union account as listed on Line 17.2 of the Debtors Schedule
A/B; Non-exempt funds in Debtors Checking Account with Bank of America as listed on Line 17.3 of the Debtors Schedule A/B;
2014 Honda Pilot, VIN: 5FNYF3H41EB020275, together with all keys; Non-exempt portion, if any, of the Childrens 529 Accounts
as listed on Line 24 of the Debtors Schedule A/B and Non-exempt portion, if any, of the Whole Life Insurance policy through State
Farm as listed on Line 31 of the Debtors Schedule A/B. Filed by Eugene H Johnson on behalf of Trustee Gregory K. Crews Doc.
27
                                   Case Number 3:18-bk-03980-JAF                     Chapter 7
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Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 3:18-bk-03980-JAF                     Chapter 7
